 USCA11 Case: 23-12155      Document: 64     Date Filed: 11/29/2023   Page: 1 of 54



                                  No. 23-12155

             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT



                             AUGUST DEKKER, ET AL.,

                               Plaintiffs-Appellees

                                        v.

   SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION, ET AL.,

                              Defendants-Appellants

            On Appeal from the United States District Court for the
     Northern District of Florida, No. 4:22-CV-00325-RH-MAF (Hinkle, J.)


        BRIEF OF AMICI CURIAE BIOMEDICAL ETHICS AND
           PUBLIC HEALTH SCHOLARS IN SUPPORT OF
           PLAINTIFFS-APPELLEES AND AFFIRMANCE



Katelyn Kang                                  Kathleen Hartnett
COOLEY LLP                                    Zoë Helstrom
55 Hudson Yards                               COOLEY LLP
New York, NY 10001-2103                       3 Embarcadero Center, 20th Floor
Telephone: (212) 479-6000                     San Francisco, California 94111-4004
kkang@cooley.com                              Telephone: (415) 693-2000
                                              khartnett@cooley.com
                                              zhelstrom@cooley.com

                                              Counsel for Amici Curiae
 USCA11 Case: 23-12155      Document: 64     Date Filed: 11/29/2023    Page: 2 of 54
 Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                                Record No. 23-12155

     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1-

1, the undersigned counsel for amici curiae Aziza Ahmed, Khiara M. Bridges, David

S. Cohen, I. Glenn Cohen, Charlene Galarneau, Joanna Grossman, Lisa C. Ikemoto,

Maya Manian, Michelle Oberman, Dara Purvis, Rachel Rebouché, Jessica Silbey,

and Michael R. Ulrich certify that each amicus curiae is an individual. They do not

have a parent corporation and no publicly held corporation owns 10% or more of

their stock.

      Amici curiae further certify that the following persons and parties, in addition

to the above-named amici, may have an interest in the outcome of this case:

   1. Academic Pediatric Association, Amicus
   2. Alstott, Anne, Amicus
   3. Ahmed, Aziza, Amicus
   1. Altman, Jennifer, Counsel for Plaintiffs
   2. American Academy of Child and Adolescent Psychiatry, Amicus
   3. American Academy of Family Physicians, Amicus
   4. American Academy of Nursing, Amicus
   5. American Academy of Pediatrics, Amicus
   6. American College of Obstetricians and Gynecologists, Amicus
   7. American College of Osteopathic Pediatricians, Amicus
   8. American College of Pediatricians, Amicus
   9. American College of Physicians, Amicus

                                          C1 of 1
USCA11 Case: 23-12155      Document: 64        Date Filed: 11/29/2023   Page: 3 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

  10. American Medical Association, Amicus
  11. American Pediatric Society, Amicus
  12. American Psychiatric Association, Amicus
  13. Anderson, Barrett, Counsel for Amicus
  14. Antommaria, Armand, Witness
  15. Association of American Medical Colleges, Amicus

  16. Bailey, Andrew, Counsel for Amicus
  17. Baker, Kellan, Witness
  18. Bardos, Andy, Counsel for Amicus
  19. Barnes, Brian, Counsel for Amicus
  20. Beato, Michael, Counsel for Defendants
  21. Biggs, Michael, Witness
  22. Biomedical Ethics and Public Health Scholars, Amicus
  23. Bird, Brenna, Counsel for Amicus
  24. Boergers, Kathleen, Counsel for Amicus
  25. Boulware, Susan, Amicus
  26. Bowdre, Alexander Barrett, Counsel for Amicus
  27. Brackett, John Matthew, Witness
  28. Bridges, Khiara M., Amicus

  29. Bronni, Nicholas J., Counsel for Amicus

  30. Brown, Louis, Jr., Amicus
  31. Burleigh, Clifton Francis, Jr., Amicus
  32. Cameron, Daniel, Counsel for Amicus
  33. Cantor, James, Witness


                                         C2 of 2
USCA11 Case: 23-12155         Document: 64    Date Filed: 11/29/2023   Page: 4 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

  34. Carr, Chris, Counsel for Amicus
  35. Chriss, Simone, Counsel for Plaintiffs
  36. Chuang, Ming, Counsel for Amicus

  37. Clark, Kaila, Counsel for Amicus
  38. Cohen, David S., Amicus
  39. Cohen, I. Glenn, Amicus
  40. Commonwealth of Kentucky, Amicus
  41. Commonwealth of Massachusetts, Amicus
  42. Commonwealth of Virginia, Amicus
  43. Cory, Alyssa L., Counsel for Amicus
  44. Coursolle, Abigail, Counsel for Plaintiffs
  45. Dalton, Ann, Witness
  46. DeBriere, Katherine, Counsel for Plaintiffs
  47. Dekker, August, Plaintiff
  48. Ding, Michael, Counsel for Witness/Third-Party Miriam Grossman
  49. District of Columbia, Amicus
  50. Do No Harm, Amicus
  51. Doe, Jane, Plaintiff
  52. Doe, John, Plaintiff
  53. Doe, Susan, Plaintiff
  54. Donovan, Kevin, Witness
  55. Dunn, Chelsea, Counsel for Plaintiffs
  56. Edmiston, E. Kale, Witness
  57. Endocrine Society, Amicus



                                         C3 of 3
USCA11 Case: 23-12155       Document: 64    Date Filed: 11/29/2023   Page: 5 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

  58. English, Jeffrey, Witness
  59. Ethics and Public Policy Center, Amicus
  60. Figlio, Erik, Counsel for Amicus
  61. Fitch, Lynn, Counsel for Amicus
  62. Florida Agency for Health Care Administration, Defendant
  63. Florida Chapter of the American Academy of Pediatrics, Amicus
  64. Florida Policy Institute, Amicus
  65. Florida Voices for Health, Amicus
  66. Galarneau, Charlene, Amicus
  67. Gibson, Benjamin J., Counsel for Amicus
  68. Gonzalez-Pagan, Omar, Counsel for Plaintiffs
  69. Griffin, Steven J., Counsel for Amicus

  70. Griffin, Tim, Counsel for Amicus

  71. Grossman, Joanna, Amicus

  72. Grossman, Miriam, Witness/Third-Party Discovery Producer

  73. Halley, Ted, Amicus
  74. Hartnett, Kathleen, Counsel for Amicus
  75. Hasson, Mary Rice, Counsel for Amicus
  76. Helstrom, Zoe, Counsel for Amicus
  77. Heyer, Walt, Amicus
  78. Hilgers, Michael T., Counsel for Amicus
  79. Hinkle, Robert, U.S. District Court Judge
  80. Hruz, Paul William, Witness
  81. Hussein, Abdul-Latif, Amicus



                                         C4 of 4
USCA11 Case: 23-12155         Document: 64   Date Filed: 11/29/2023   Page: 6 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

  82. Hutton, Kim, Witness

  83. Ikemoto, Lisa – Amicus

  84. Isasi, William, Counsel for Amicus
  85. Jacobs, Dylan L., Counsel for Amicus
  86. Janssen, Aron Christopher, Witness
  87. Jazil, Mohammad, Counsel for Defendants
  88. K.F., Plaintiff
  89. Kaliebe, Kristopher Edward, Witness
  90. Kamody, Rebecca, Amicus
  91. Kang, Katelyn, Counsel for Amicus
  92. Karasic, Dan, Witness
  93. Kiefel, Camille, Witness
  94. Kline, Robert, Counsel for Amicus
  95. Kniffin, Eric Nieuwenhuis, Counsel for Amicus
  96. Knudsen, Austin, Counsel for Amicus
  97. Kobach, Kris W., Counsel For Amicus
  98. Krasovec, Joseph, Counsel for Amicus
  99. Kuper, Laura, Amicus
100. Labrador, Raúl R., Counsel for Amicus
101. LaCour, Edmund G. Jr., Counsel for Amicus
102. Lannin, Cortlin, Counsel for Amicus
103. Laidlaw, Michael, Witness
104. Lappert, Patrick, Witness

105. Ladue, Jade, Plaintiff


                                         C5 of 5
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 7 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

106. Levine, Stephen, Witness
107. Little, Joseph, Counsel for Plaintiffs
108. Loewy, Karen L., Counsel for Plaintiffs
109. Manian, Maya, Amicus

110. Marshall, Steve, Counsel for Amicus

111. Marstiller, Simone, Former Defendant
112. Mauler, Daniel, Counsel for Amicus
113. McCotter, R. Trent, Counsel for Amicus
114. McKee, Catherine, Counsel for Plaintiffs
115. McNamara, Meredithe, Amicus
116. Meszaros, Marie Connelly, Amicus
117. Miller, William, Counsel for Plaintiffs
118. Miyares, Jason, Counsel for Amicus
119. Mondry, Emily, Counsel for Amicus
120. Morrisey, Patrick, Counsel for Amicus
121. Morrison, Rachel N., Amicus
122. Nangia, Geeta, Witness
123. National Association of Pediatric Nurse Practitioners, Amicus
124. Nordby, Daniel E., Counsel for Witness/Third-Party Miriam Grossman and
     Counsel for Amicus
125. Norohna, Maya, Amicus

126. North Central Florida Council of Child and Adolescent Psychiatry, Amicus
127. Oberman, Michelle, Amicus

128. Olezeski, Christy, Amicus
129. Olson-Kennedy, Johanna, Witness

                                         C6 of 6
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 8 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

130. Paxton, Ken, Counsel for Amicus
131. Pediatric Endocrine Society, Amicus
132. Perko, Gary, Counsel for Defendants
133. Polston, Ricky L., Counsel for Amicus
134. Pratt, Christine, Amicus
135. Pratt, Joshua E., Counsel for Defendants
136. Purvis, Dara, Amicus
137. Ramer, John, Counsel for Amicus
138. Rebouché, Rachel, Amicus
139. Reinhardt, Elizabeth, Counsel for Amicus
140. Reyes, Sean, Counsel for Amicus
141. Richards, Jay W., Amicus
142. Rivaux, Shani, Counsel for Plaintiffs
143. Rokita, Theodore E., Counsel for Amicus
144. Rothstein, Brit, Plaintiff
145. Samuels, Valerie, Counsel for Amicus
146. Schechter, Loren, Witness
147. Scott, Sophie, Witness
148. Severino, Roger, Amicus

149. Shaw, Gary, Counsel for Plaintiffs

150. Sheeran, Andrew, General Counsel for Defendant AHCA
151. Shumer, Daniel, Witness
152. Silbey, Jessica, Amicus
153. Skrmetti, Jonathan, Counsel for Amicus



                                          C7 of 7
USCA11 Case: 23-12155        Document: 64   Date Filed: 11/29/2023   Page: 9 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

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155. Society for Adolescent Health and Medicine, Amicus
156. Society for Pediatric Research, Amicus
157. Society of Pediatric Nurses, Amicus
158. State of Alabama, Amicus
159. State of Arkansas, Amicus
160. State of California, Amicus
161. State of Delaware, Amicus
162. State of Georgia, Amicus
163. State of Idaho, Amicus
164. State of Illinois, Amicus
165. State of Indiana, Amicus
166. State of Iowa, Amicus
167. State of Kansas, Amicus
168. State of Louisiana, Amicus
169. State of Maryland, Amicus
170. State of Mississippi, Amicus

171. State of Missouri, Amicus

172. State of Montana, Amicus

173. State of Nebraska, Amicus
174. State of New York, Amicus
175. State of North Dakota, Amicus
176. State of Oregon, Amicus
177. State of Rhode Island, Amicus


                                        C8 of 8
USCA11 Case: 23-12155      Document: 64    Date Filed: 11/29/2023   Page: 10 of 54
Dekker, et al. v. Secretary, Florida Agency for Health Care Administration, et al.
                               Record No. 23-12155

178. State of South Carolina, Amicus
179. State of Tennessee, Amicus
180. State of Texas, Amicus
181. State of Utah, Amicus
182. State of West Virginia, Amicus
183. Szilagyi, Nathalie, Amicus
184. Thompson, David, Counsel for Amicus
185. Ulrich, Michael, Amicus
186. Veta, D. Jean, Counsel for Amicus
187. Van Meter, Quentin, Witness
188. Van Mol, Andre, Witness
189. Weida, Jason, Defendant
190. Wilson, Alan, Counsel for Amicus
191. World Professional Association for Transgender Health, Amicus

192. Zanga, Joseph, Witness




                                         C9 of 9
 USCA11 Case: 23-12155                 Document: 64            Date Filed: 11/29/2023              Page: 11 of 54



                                        TABLE OF CONTENTS

                                                                                                             Page(s)

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
    DISCLOSURE STATEMENT ......................................................................C1
TABLE OF CONTENTS ...........................................................................................i
TABLE OF AUTHORITIES ....................................................................................ii
STATEMENT OF INTEREST OF AMICI CURIAE ...............................................1
STATEMENT OF THE ISSUES..............................................................................2
SUMMARY OF THE ARGUMENT .......................................................................3
ARGUMENT ............................................................................................................5
I.       GENDER-AFFIRMING CARE IS SUPPORTED BY A
         SUBSTANTIAL BODY OF EVIDENCE THAT DOES NOT
         JUSTIFY SINGLING IT OUT FOR DIFFERENTIAL
         TREATMENT. ...............................................................................................5
II.      THE CHALLENGED EXCLUSION CONTRAVENES KEY
         TENETS OF BIOMEDICAL ETHICS. .......................................................20
         A.       The Challenged Exclusion Forces Providers to Disregard
                  Patients’ Autonomy. ...........................................................................21
         B.       The Challenged Exclusion Forces Providers to Violate Their
                  Duty of Beneficence. ..........................................................................27
         C.       The Challenged Exclusion Forces Providers to Violate Their
                  Duty of Justice. ...................................................................................30
CONCLUSION .......................................................................................................32




                                                         -i-
 USCA11 Case: 23-12155                    Document: 64             Date Filed: 11/29/2023              Page: 12 of 54



                                       TABLE OF AUTHORITIES

                                                                                                                  Page(s)
Cases

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  80 F.4th 1205 (11th Cir. 2023) .......................................................................8, 19

L.W. v. Skrmetti,
   83 F.4th 460 (6th Cir. 2023) ...................................................................19, 20, 21

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   444 F.3d 502 (6th Cir. 2006) ........................................................................15, 16

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Fed. R. App. P.
   29(a)(2) .................................................................................................................1
   29(a)(4)(E) ............................................................................................................ 1

Fla. Admin. Code 59G-1.050(7) .......................................................................passim

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   § 499.0295(2)(a)(3) ............................................................................................. 22
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  (Sept. 18, 2017) ...................................................................................................26


                                                            -ii-
 USCA11 Case: 23-12155                    Document: 64              Date Filed: 11/29/2023             Page: 13 of 54



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  Physician Relationships ...................................................................................... 28

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                                                            -iii-
 USCA11 Case: 23-12155                   Document: 64            Date Filed: 11/29/2023               Page: 14 of 54



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                                                          -iv-
 USCA11 Case: 23-12155                    Document: 64            Date Filed: 11/29/2023               Page: 15 of 54



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                                                           -v-
 USCA11 Case: 23-12155                   Document: 64             Date Filed: 11/29/2023               Page: 16 of 54



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                                                          -vi-
USCA11 Case: 23-12155               Document: 64            Date Filed: 11/29/2023        Page: 17 of 54



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                                                    -vii-
USCA11 Case: 23-12155        Document: 64     Date Filed: 11/29/2023   Page: 18 of 54



              STATEMENT OF INTEREST OF AMICI CURIAE 1

      Amici curiae listed in the Appendix are professors of law, medicine, and

public health who teach and write about biomedical ethics and health-related rights

and discrimination. Biomedical ethics, sometimes referred to as bioethics, is “the

discipline of ethics dealing with moral problems arising in the practice of medicine

and the pursuit of biomedical research.” J. R. Vevaina et al., Issues in biomedical

ethics, 39 Disease-a-Month 869 (1993), https://pubmed.ncbi.nlm.nih.gov/8243220.

Amici have a strong interest in ensuring that principles of biomedical ethics are

accurately described and properly applied. They submit this brief to explain how

Florida Administrative Code 59G-1.050(7) and Senate Bill 254 are inconsistent with

foundational principles of biomedical ethics.




1
 Amici certify that no person or entity, other than amici curiae or their counsel, made
a monetary contribution to the preparation or submission of this brief or authored
this brief in whole or in part. Fed. R. App. P. 29(a)(4)(E). The parties have
consented to the filing of this brief. Fed. R. App. P. 29(a)(2).

                                          1
USCA11 Case: 23-12155      Document: 64    Date Filed: 11/29/2023   Page: 19 of 54



                       STATEMENT OF THE ISSUES

       Whether the District Court correctly enjoined Defendants-Appellants from

enforcing Rule 59G-1.050(7) of the Florida Administrative Code and Senate Bill

254.




                                       2
USCA11 Case: 23-12155          Document: 64   Date Filed: 11/29/2023   Page: 20 of 54



                       SUMMARY OF THE ARGUMENT

      From flu shots to cancer treatments, medical providers regularly support

patients (and their parents, when the patients are minors) in deciding whether a given

medical treatment is necessary and appropriate for them, without any undue

interference from the State.

      The Florida statute at issue in this appeal, Rule 59G-1.050(7) of the Florida

Administrative Code and Senate Bill 254 (collectively, the “Challenged Exclusion”

or the “Exclusion”), upend that normal operation of medical practice for a specific,

targeted group of patients: transgender Medicaid beneficiaries seeking gender-

affirming medical care for gender dysphoria. The Exclusion outlaws the normal

course of medical decision-making for these individuals, under which a patient and

their medical providers carefully deliberate to make an informed, individualized

decision about whether gender-affirming care is medically appropriate and in the

best interest of the particular patient. The State imposed this sweeping Exclusion

even though every major medical organization in the United States has concluded

that gender-affirming care, including for minors, is not only safe and effective, but

is the only evidence-based treatment for gender dysphoria.

      Categorically barring patients from accessing evidence-based treatment is

irreconcilable with foundational precepts of biomedical ethics, particularly where,

as here, that treatment is the only evidence-based treatment available for a given



                                          3
USCA11 Case: 23-12155        Document: 64     Date Filed: 11/29/2023   Page: 21 of 54



medical need and the prohibition applies only to a group of patients singled out

because of their identity.

      As explained further below, core principles of biomedical ethics include

respect for autonomy, beneficence, and justice. Because a denial of Medicaid

coverage is effectively a denial of care for Medicaid beneficiaries, the Challenged

Exclusion deprives economically disadvantaged transgender patients of their ability

to receive medically necessary and appropriate treatment to which they have given

informed consent (autonomy). It forces providers to deny their patients care that is

known to alleviate suffering, and thus to abandon their patients to serious physical

and mental harm (beneficence). And it compels providers to deny care that only

patients who are transgender need, thereby exacerbating stigma and inequity and

damaging trust in the medical profession (justice).

      Florida tries to justify these harms by suggesting that gender-affirming care

lacks a sound evidentiary base.          That position is unfounded and badly

misunderstands how medical knowledge is credibly generated. Randomized control

trials are not, and have never been, requisite for medical care to be considered

appropriate, and in fact are ill-suited for many types of treatment. Nor must

longitudinal studies always be of a particular duration to be reliable. And off-label

use is legal, commonplace, and often necessary to serve a patient’s best interest. The




                                          4
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 22 of 54



gender-affirming care prohibited by the Exclusion has been developed through

rigorous and appropriate methods and rests on a strong evidentiary basis.

      In sum, the Challenged Exclusion singles out and effectively bans gender-

affirming care for economically disadvantaged transgender patients based on false

notions of science, public health, and biomedical ethics, without considering the

grave harm that will come from denying vulnerable patients critical health care. This

Court should affirm the District Court’s Findings of Fact and Conclusions of Law.

                                  ARGUMENT

I.    GENDER-AFFIRMING CARE IS SUPPORTED BY A SUBSTANTIAL
      BODY OF EVIDENCE THAT DOES NOT JUSTIFY SINGLING IT
      OUT FOR DIFFERENTIAL TREATMENT.

      The gender-affirming care prohibited by the Challenged Exclusion was

developed through rigorous and appropriate methods and is recommended by every

major medical association in the United States. Kellan Baker, The Future of

Transgender Coverage, 376 New Eng. J. Med. 19, 1801-04 (May 2017); Ayden I.

Scheim et al., Health and Health Care Among Transgender Adults in the United

States, 43 Annual Rev. of Pub. Health 503, 510 (2021); see also Gesine Meyer et

al., Safety and rapid efficacy of guideline-based gender-affirming hormone therapy:

an analysis of 388 individuals diagnosed with gender dysphoria, European J. of

Endocrinology 155 (2020). Nonetheless, the State characterizes gender-affirming

care as “experimental” and questionable treatment that has not been sufficiently



                                         5
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 23 of 54



vetted, pointing to the lack of randomized control trials supporting the efficacy of

hormone therapy, the duration of the longitudinal studies completed to date, and

what they call “low quality” or “very low quality” evidence on gender affirming

care. See Defs.’ Br. 1, 7-8, 11-12, 14-15, 38. Likewise, the State’s putative experts

also emphasize that using puberty blockers and hormone therapy for gender-

affirming care is not approved by the U.S. Food and Drug Administration (“FDA”).

Doc. 246 at 49.

      These claims about gender affirming care are wrong. As the District Court

found, the medical care targeted by the Exclusion is supported by a strong

evidentiary base, both in and of itself and in comparison to the evidentiary basis

underlying many other forms of commonly provided care. Such attempts to justify

the Exclusion reflect a fundamental misunderstanding of medical practice and the

ways medical knowledge and treatment guidelines are generated, particularly in the

context of pediatric care. Medical providers are not and have never been restricted

to providing only those treatments that have been generated via randomized control

trial and received FDA approval for the particular indication. Indeed, as explained

herein, such restrictions would be impractical and unethical. The medical care

targeted by the Exclusion is based on appropriate, ethical study and medical

knowledge—it is not “experimental.”




                                         6
USCA11 Case: 23-12155        Document: 64     Date Filed: 11/29/2023   Page: 24 of 54



       To start, the State conflates clinical care with clinical research and fails to

engage with the ethical standards attendant to each. Medical care delivered by a

clinician to a patient and clinical research have distinct purposes and processes. See,

e.g., Nat’l Comm’n for the Protection of Hum. Subjects of Biomedical Rsch., The

Belmont Report: Ethical Principles and Guidelines for the Protection of Human

Subjects of Research (1978) (discussing the importance of distinguishing between

research and clinical practice); U.S. Food & Drug Admin., Clinical Research Versus

Medical Treatment (Mar. 22, 2018), https://www.fda.gov/patients/clinical-trials-

what-patients-need-know/clinical-research-versus-medical-treatment         (describing

differences between clinical research and medical treatment in terms of intent,

intended benefit, funding, timeframe, and other factors). In the clinical care setting,

the provider’s aim is to improve a patient’s health, and the provider is duty bound to

act in that patient’s best interest. By contrast, the aim of a research study is to

generate knowledge useful for future patients. See José A. Sacristán, Clinical

Research and Medical Care: Towards Effective and Complete Integration, 15 BMC

Med.        Res.       Methodol.         (2015),       https://www.ncbi.nlm.nih.gov

/pmc/articles/PMC4323129/.       A research study’s protocols must be ethically

designed and administered, but there is no obligation to do what is in each

participant’s best interest. Importantly, receiving gender-affirming care does not

automatically render a patient a subject of a research study (and certainly not a



                                          7
USCA11 Case: 23-12155        Document: 64     Date Filed: 11/29/2023   Page: 25 of 54



subject of experimentation unmoored from ethical standards); gender-affirming

medical care has been known to advance individual patients’ best interests and is

provided as clinical care for that purpose. The very use of the label “experimental”

in this context is thus misleading.

      Further, opponents of gender-affirming care like the State often

misunderstand how medical knowledge is credibly and rigorously generated, and so,

among other things, wrongly suggest that the lack of randomized control trials means

the care has not been appropriately vetted. See, e.g., Eknes-Tucker v. Governor of

Alabama, 80 F.4th 1205, 1217 (11th Cir. 2023) (citing witness emphasizing lack of

randomized studies). Not so. There is no one method used to generate medical

knowledge in all contexts, and no one method is considered requisite to a treatment

being deemed medically appropriate. Rather, medical knowledge and practice are

informed by a range of research and clinical inputs that are often dependent on the

type of care, context, and state of development. Here, for example, the District Court

found that “there is now extensive clinical experience showing excellent results from

treatment [of gender dysphoria in minors] with GnRH agonists and cross-sex

hormones.” Doc. 246 at 40.

      A randomized control trial—where some participants are randomly assigned

to a treatment group and others are randomly assigned to a control group—is one of

many types of credible research designs used to evaluate a medical intervention.



                                          8
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 26 of 54



Medical interventions also can be and often are evaluated through observational

studies, which include cross-sectional studies (based on data collected from a single

point in time), and longitudinal studies (based on data collected from particular

individuals over time). See, e.g., Edward L. Hannan, Randomized Clinical Trials

and Observational Studies: Guidelines for Assessing Respective Strengths and

Limitations,   1(3)   JACC:    Cardiovascular    Interventions   211–217     (2008),

https://www.sciencedirect.com/science/article/pii/S1936879808001702.              In

addition, randomized clinical trials, which compare different established

interventions to one another, may be used to inform medical treatment. For example,

a randomized clinical trial has been used to evaluate sex hormone treatment for

gender dysphoria, comparing different, established pharmacological treatments to

one another.   See Carla Pelusi et al., Effects of Three Different Testosterone

Formulations in Female-to-Male Transsexual Persons, 11 J. Sex Med. 3002–3011

(2014), https://www.jsm.jsexmed.org/article/S1743-6095(15)30626-3/fulltext.

      Study methods other than randomized control trials and extended longitudinal

studies may be preferable in some circumstances, given that these are not always

feasible, appropriate, or the most reliable way to evaluate a medical intervention.

For instance, randomized control trials are rarely used for interventions focused on

children or pregnant people, or for surgical interventions. See, e.g., Denise Thomson

et al., Controlled Trials in Children: Quantity, methodological quality and



                                         9
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 27 of 54



descriptive characteristics of Pediatric Controlled Trials published 1948–2006, 5

PLoS    One    (2010),   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2948021/;

Katrien Oude Rengerink et al., Pregnant women’s concerns when invited to a

randomized trial: A qualitative case control study, 15 BMC Pregnancy and

Childbirth    207    (2015),    https://bmcpregnancychildbirth.biomedcentral.com/

articles/10.1186/s12884-015-0641-x; Natalie S. Blencowe et al., Interventions in

randomized controlled trials in surgery: issues to consider during trial design, 16

Trials (2015), https://doi.org/10.1186/s13063-015-0918-4.       Randomized control

trials also are only ethical when there is clinical “equipoise,” which means they are

only appropriate when there is genuine uncertainty about whether the intervention

will be more effective than the control. See Benjamin Freedman, Equipoise and the

Ethics of Clinical Research, 317 N. Engl. J. Med. 141–145 (1987),

https://www.nejm.org/doi/full/10.1056/NEJM198707163170304. That is because it

is unethical to knowingly expose participants to an inferior intervention or control.

For example, in acknowledging limitations to its analysis, a 2023 open-label

randomized clinical trial assessing the effect of testosterone therapy compared with

no treatment on gender dysphoria, depression, and suicidality explained that the trial

was limited to three months in order to insure that “participants would not be

disadvantaged by waiting longer than standard of care waiting times of 3 months for

an initial consultation.” Brendan J. Nolan et al., Early Access to Testosterone



                                         10
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023     Page: 28 of 54



Therapy in Transgender and Gender-Diverse Adults Seeking Masculinization: A

Randomized       Clinical     Trial,     JAMA        Network          Open     (2023),

https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2809058.

      This principle plainly applies to the excluded treatments for gender dysphoria:

performing randomized, placebo-controlled trials on the efficacy of that treatment

would be unethical, because the prevailing view among the medical community is

that for patients who need it, hormone therapy is superior to a lack of

pharmacological treatment. See id.

      Likewise, opponents of gender-affirming care critique the lack of “long-term

studies” regarding its safety and efficacy. This too is wrong. In reality, there are

many long-term studies supporting the provision of gender-affirming care to treat

gender dysphoria, including for minors. 2 Moreover, the underlying premise of this

argument—that long-term studies are necessary to prove a treatment’s efficacy and


2
  See, e.g., Jack L. Turban et al., Access to gender-affirming hormones during
adolescence and mental health outcomes among transgender adults, 17(1) PLoS
ONE 2 (2022), https://doi.org/10.1371/journal.pone.0261039 (collecting studies);
Katherine L. Kraschel et al., Legislation restricting gender-affirming care for
transgender youth: Politics eclipse healthcare, 3(8) Cell Reports Medicine 4 (2022),
https://doi.org/10.1016/j.xcrm.2022.100719 (“Over a dozen studies have
collectively linked [gender affirming care] to improvements in depression, anxiety,
and suicidality.”); see also Brandt v. Rutledge, 47 F.4th 661, 671 (8th Cir. 2022)
(“According to surveys of the research on hormone treatment for adolescents done
by the British National Institute for Health & Care Excellence, several studies have
shown statistically significant positive effects of hormone treatment on the mental
health, suicidality, and quality of life of adolescents with gender dysphoria. None
has shown negative effects.”).

                                        11
USCA11 Case: 23-12155        Document: 64      Date Filed: 11/29/2023   Page: 29 of 54



safety—is mistaken. Longitudinal studies need not last for some unspecified “long-

term” period to be reliable, nor are such studies always the most ethically and legally

appropriate. Often, other reliable and trustworthy methods are preferable. For

example, before conducting longitudinal studies involving children, researchers

must consider a child’s privacy and autonomy all while maintaining data integrity—

a sometimes difficult balancing act that can be avoided by using an alternative study

design. See, e.g., Gert Helgesson, Children, Longitudinal Studies, and Informed

Consent, 8 Med., Health Care & Philos. 307 (2005), https://doi.org/10.1007/s11019-

005-0978-4.

      The State also betrays its erroneous understanding of what it means for

evidence to be graded as “low-quality.” Defs.’ Br. 29. Under the GRADE system,

which is often used for presenting summaries of scientific evidence and making

clinical practice recommendations, the level of quality ascribed to evidence is based

on the type of research methodology used— evidence generated via a randomized

control trial is typically labeled “high quality” and evidence generated via an

observational study is typically labeled “low quality.” Howard Balshem et al.,

GRADE guidelines: 3. Rating the quality of evidence, 64(4) J. Clinical Epidemiol.

401 (2011); Holger Schünemann et al. (eds.), Grading of Recommend., Assess., Dev.

& Eval. Handbook 14 (2013) (“GRADE Handbook”). Randomized trials with

limitations such as inconsistent results or publication bias will go down in quality,



                                          12
USCA11 Case: 23-12155        Document: 64       Date Filed: 11/29/2023   Page: 30 of 54



and observational studies with a dose-response gradient (relationship between a

stimulus and a response) or large magnitude of effect will go up in quality. GRADE

Handbook at 13.

         These “high quality” and “low quality” labels under GRADE thus are

descriptive of the underlying method, but they do not necessarily reflect the

reliability of the evidence generated. As noted, observational studies are sometimes

favored for both ethical and practical reasons. For example, despite their “low

quality” technical category, observational studies have been used in forming the

Cholesterol Guidelines of the American College of Cardiology and the American

Heart Association. See Meredithe McNamara et al., A Critical Review of the June

2022 Florida Medicaid Report on the Medical Treatment of Gender Dysphoria, Yale

Sch. of Med. 1, 16 (2022). The same is true for a range of other treatments, from

gall bladder surgery to the determination that aspirin is not appropriate to treat fevers

in children. See id. at 14, 16. And with gender-affirming medical care, randomized

control trials are not appropriate for the reasons described above.             Because

randomized control trials are often inappropriate or infeasible, research that falls in

the technical category of “low quality” as that term is used in the GRADE system

can still be reliable and valuable when it comes to clinical practice. See McNamara

at 15.




                                           13
USCA11 Case: 23-12155       Document: 64       Date Filed: 11/29/2023    Page: 31 of 54



      As the District Court found, “low-quality” evidence may be and often is

sufficient to justify a strong recommendation for clinical care under that same

grading system. Doc. 246 at 40 (“The record includes unrebutted testimony that

only about 13.5% of accepted medical treatments across all disciplines are supported

by ‘high’ quality evidence on the GRADE scale.”); see also GRADE Handbook at

5; Balshem at 402-04 (“A particular level of quality does not imply a particular

strength of recommendation. Sometimes, low or very low quality evidence can lead

to a strong recommendation.”).       Accordingly, the treatment for many other

conditions, such as drugs for cancer and hematologic disorders, are widely

recommended and used based on similarly “low-quality” evidence, without having

been studied through randomized, controlled clinical trials. See Anthony J. Hatswell

et al., Regulatory approval of pharmaceuticals without a randomised controlled

study: analysis of EMA and FDA approvals 1999-2014, BMJ Open (June 30, 2016),

https://pubmed.ncbi.nlm.nih.gov/27363818/. Indeed, if the “low-quality” label were

enough to render care suspect, whole swaths of modern care for which randomized

control trials are inappropriate for ethical and/or practical reasons would be called

into question. See Robert J. Ligthelm et al., Importance of observational studies in

clinical    practice,     29(6)     Clinical       Therapeutics         1284    (2007),

https://pubmed.ncbi.nlm.nih.gov/18036390/ (noting that observational evidence is

sometimes favored for both ethical and practical reasons). As the District Court



                                         14
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 32 of 54



explained, “the fact that research-generated evidence supporting these treatments

gets classified as ‘low’ or ‘very low’ quality on the GRADE scale does not mean the

evidence is not persuasive, or that it is not the best available research-generated

evidence on the question of how to treat gender dysphoria, or that medical treatments

should not be provided consistent with the research results and clinical evidence.”

Doc. 246 at 39.

      Furthermore, a medication need not be approved by the FDA for a particular

indication to be safe and effective for that indication. Off-label drug use is legal,

accepted, and, when medically indicated, safe and in service of a patient’s best

interest. See Planned Parenthood Cincinnati Region v. Taft, 444 F.3d 502, 505 (6th

Cir. 2006) (observing that off-label use is “a widely employed practice”); Doc.90 at

38 (similar). Thus, as the District Court explained, “[t]hat the FDA has not approved

these drugs for treatment of gender dysphoria says precisely nothing about whether

the drugs are safe and effective when used for that purpose.” Doc. 246 at 49.

      An understanding of the FDA approval process makes clear why there is

nothing unsafe or inappropriate about off-label use. Garnering the FDA’s approval

of a drug requires showing that it is both safe—i.e., the benefits outweigh the

potential risks—and effective for its intended use. See U.S. Food & Drug Admin.,

The FDA’s Drug Review Process: Ensuring Drugs Are Safe and Effective (Nov. 24,

2017), https://www.fda.gov/drugs/information-consumers-and-patients-drugs/fdas-



                                         15
USCA11 Case: 23-12155        Document: 64       Date Filed: 11/29/2023   Page: 33 of 54



drug-review-process-ensuring-drugs-are-safe-and-effective. It is well-established

practice that once a drug has been approved by the FDA, health care providers may

then prescribe it for other medically appropriate uses and in other dosages at their

discretion without pharmaceutical companies first having to return to the FDA and

seek approval for each indication. See Taft, 444 F.3d at 505. Such off-label use

occurs because medical knowledge about how a drug might be beneficial in a

different context or a different dosage continues to develop after FDA approval, but

it is often too costly and impractical for drug makers to put each possible use of a

drug through the FDA’s “formal, lengthy, and expensive” approval process. Am.

Cancer      Soc’y,      Off-Label       Drug        Use       (Mar.      17,     2015),

https://www.cancer.org/treatment/treatments-and-side-effects/treatment-types/off-

label-drug-use.html (noting that off-label drug use is “well-documented and very

common in” oncology, “pediatrics and HIV/AIDS care”); Doc. 246 at 49-50. In

addition, providers often prefer that drug makers not seek approval for every off-

label use, given that it could increase the cost of the drug and limit the scope of its

clinical application, all of which would make it less available to their patients. See

id.; Cong. Rsch. Serv., Off-Label Use of Prescription Drugs 4 (Feb. 23, 2021),

https://sgp.fas.org/crs/misc/R45792.pdf.

      Off-label use of medication is common and “generally accepted.” Buckman

Co. v. Pls.’ Legal Comm., 531 U.S. 341, 351 (2001); Christopher M. Wittich et al.,



                                           16
USCA11 Case: 23-12155         Document: 64     Date Filed: 11/29/2023   Page: 34 of 54



Ten common questions (and their answers) about off-label drug use, 87 Mayo Clinic

Proc. 982–990 (2012), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3538391/

(discussing off-label drug uses that have “become widely entrenched in clinical

practice and become predominant treatments for a given clinical condition” and

citing studies showing that in a group of commonly used medications, 21% of

prescriptions were for off-label use). For example, about half of drugs used to treat

cancer are prescribed off label.         See Am. Soc’y of Clinical Oncology,

Reimbursement for cancer treatment: Coverage of off-label drug indications, 24 J.

Clinical   Oncology      3206–3208      (2006),     https://ascopubs.org/doi/10.1200/

JCO.2006.06.8940.

      Off-label use is legal because FDA approval only limits how a drug can be

marketed—i.e., a drug cannot be marketed for a use different from its FDA-approved

use—but not how a physician can prescribe it. See Buckman, 531 U.S. at 351 & n.5

(explaining that “[o]ff-label usage . . . is an accepted and necessary corollary of the

FDA’s mission to regulate in this area without directly interfering with the practice

of medicine”); John J. Smith, Physician Modification of Legally Marketed Medical

Devices: Regulatory Implications Under the Federal Food, Drug, & Cosmetic Act,

55 Food & Drug L.J. 251–252 (2000) (discussing off-label use and noting that

“regulatory efforts are directed primarily at device marketing by manufacturers, not

device use by physicians”).



                                          17
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023    Page: 35 of 54



      In fact, multiple federal and state laws have been enacted in recent years to

promote and protect off-label prescriptions. See, e.g., Okla. Rev. Stat. § 63-1-2604

(prohibiting health insurers from excluding coverage of off-label cancer treatments);

Am. Soc’y of Clinical Oncology, Recent Developments in Medicare Coverage of

Off-Label   Cancer    Therapies,    5   J.    Oncology    Practice     18–20   (2009),

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2790627/            (discussing     1993

legislation requiring Medicare to cover off-label uses of anti-cancer drugs and an

expansion of Medicare’s off-label coverage in 2008).

      Off-label use is especially common and important in treating minors. Minors

are often excluded from clinical drug studies, including for ethical reasons. See

Wittich (citing study finding that nearly 80% of children discharged from pediatric

hospitals were taking at least one off-label medication and discussing range of

widely practiced off-label drug uses in pediatric population); H. Christine Allen et

al., Off-Label Medication Use in Children, More Common Than We Think: A

Systematic Review of the Literature, 111 J. Okla State Med. Assoc. 776–783 (2018),

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6677268 (surveying ten years of

literature and finding that “[t]he use of off-label medications in children remains a

common practice for pediatric providers”).

      Finally, and critically, off-label use is often essential for delivering the best

care. James M. Beck & Elizabeth D. Azari, FDA, Off-Label Use, and Informed



                                         18
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 36 of 54



Consent: Debunking Myths and Misconceptions, 53 Food & Drug L.J. 71–104

(1998), https://pubmed.ncbi.nlm.nih.gov/11795338/ (“Off-label use is widespread in

the medical community and often is essential to giving patients optimal medical care,

both of which medical ethics, FDA, and most courts recognize.”); William Janssen,

A Historical Perspective on Off-Label Medicine: From Regulation, Promotion, and

the First Amendment to the Next Frontiers, SSRN Elec. J. (2014),

https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2519223 (explaining that in

some circumstances, “a physician’s failure to prescribe the medical product for such

an unapproved use can constitute medical malpractice”).

      Thus, off-label use is legal, common, and often essential for delivering

medically necessary care. Any suggestion otherwise—including the Sixth Circuit’s

contention, embraced by the Eleventh Circuit, that off-label use signals that “the

FDA is not prepared to put its credibility and testing protocols behind the [drug’s]

use,” L.W., 83 F.4th at 478; see also Eknes-Tucker, 80 F.4th at 1225 n.19—greatly

misunderstands and misstates how the FDA works.

                                       ***

      In sum, none of the State’s proclaimed “justifications” for the Challenged

Exclusion hold up to scrutiny. Contrary to the State’s claims, the Challenged

Exclusion does not prohibit treatment that is “experimental.” The State’s arguments

are based on a fundamental misunderstanding of both how scientific knowledge is



                                         19
USCA11 Case: 23-12155        Document: 64      Date Filed: 11/29/2023   Page: 37 of 54



generated and the FDA approval process. Treatment methods do not require a

randomized control trial, observational studies of a specific length, exclusively “high

quality” evidence, or on-label use to be safe and effective. Indeed, were the State’s

erroneous arguments an acceptable basis for excluding medical care coverage, a

significant portion of modern medical practice could be excluded from coverage,

including almost all forms of pediatric health care, much of adult health care, and a

significant portion of cancer care, and would inflict unjustifiable harm on

transgender Medicaid beneficiaries.

II.   THE CHALLENGED EXCLUSION CONTRAVENES KEY TENETS
      OF BIOMEDICAL ETHICS.

      The Challenged Exclusion eliminates a patient’s ability to make a decision,

together with their medical providers, about whether accessing a safe and effective

form of treatment is in their best interest. As a result, the Exclusion is directly at

odds with key tenets of biomedical ethics: respect for autonomy, beneficence, and

justice. Tom L. Beauchamp & James F. Childress, Principles of Biomedical Ethics,

13 (8th ed. 2019). These universal principles, which are the cornerstones of modern-

day healthcare standards, guide providers’ treatment decisions regardless of the type

of medical care they are providing, and can provide “meaningful guidance” to courts

assessing wholesale bans on and/or exclusions of coverage for care. Contra L.W.,

83 F.4th at 478. To be clear, amici do not invoke these principles to suggest that

they provide the legal test pursuant to which judges should “assess the validity of


                                          20
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 38 of 54



[the Exclusion].” Id. Rather, amici discuss how the Exclusion compromises these

principles rather than protecting them. Amici have a strong interest in ensuring that

courts and policymakers alike have an accurate understanding of bioethics, and the

discussion that follows accordingly explains why the Exclusion is irreconcilable

with bioethical principles and therefore why any asserted interest in advancing

bioethics should not be credited.

      A.     The Challenged Exclusion Forces Providers to Disregard Patients’
             Autonomy.

      As a general matter, Florida has repeatedly acknowledged the importance of

obtaining informed consent and respecting patient decision making, reflecting the

core biomedical ethical principle of respect for autonomy. That principle requires

that patients have the ability to decide whether to receive appropriate medical care

within the framework of informed consent. Beauchamp & Childress at 105. For

example, Florida has rendered the failure to adequately obtain informed consent

tortious and has created a standard jury instruction on how to evaluate the negligent

failure to obtain informed consent.     Fla. Stat. § 766.103 (discussing medical

malpractice claim involving lack of informed consent); Fla. Standard Jury

Instruction No. 402.7. Florida also has enacted a “Right to Try” law, which allows a

terminally ill patient, in consultation with their physician, to give “informed




                                         21
    USCA11 Case: 23-12155     Document: 64         Date Filed: 11/29/2023    Page: 39 of 54



consent” to use non-FDA approved drugs and medical products in order to treat their

illness. Fla. Stat. § 499.0295(2)(a)(3). 3

        In stark contrast to these laws reflecting the core principle of autonomy, the

Challenged Exclusion attacks autonomy by preventing individuals from pursuing,

and health care professionals from providing, beneficial medical treatment with due

regard for a patient’s interests.

        Empowering a patient’s autonomy is essential to the integrity of the provider-

patient relationship, as well as the patient’s individual liberty and ability to

determine the course of their life. In keeping with that bioethical principle, “the

physician’s professional role [is] to make recommendations on the basis of the best

available medical evidence and to pursue options that comport with the patient’s

unique health needs, values, and preferences.” Lois Snyder Sulmasy & Thomas A.

Bledsoe, American College of Physicians Ethics Manual 170, Annals of Internal

Medicine        86     (7th         ed.      2019)      (“ACP       Ethics       Manual”),

https://www.acpjournals.org/doi/10.7326/m18-2160; see also Beauchamp &

Childress at 105 (respect for autonomy requires health care professionals “to

disclose information, to probe for and ensure understanding and voluntariness, and

to foster adequate decision making”). Informed consent is a crucial mechanism for



3
 Florida’s “Right to Try” law also undermines the State’s argument that off-label
usage is problematic and therefore a sufficient justification to prohibit care.

                                              22
USCA11 Case: 23-12155        Document: 64      Date Filed: 11/29/2023   Page: 40 of 54



ensuring respect for autonomy. In all non-emergency encounters, the provider is

obligated to offer the patient material information and guidance, but the patient must

be trusted and empowered to make the informed and voluntary decision that best

advances their interests.     See Parth Shah et al., Informed Consent (2021),

https://www.ncbi.nlm.nih.gov/books/NBK430827/. After the patient makes their

decision, the provider’s duty is to “protect and foster [the] patient’s free, uncoerced

choices.” ACP Ethics Manual at 74.

      Where, as here, the patients at issue include minors, the informed consent

process usually involves the provider, the minor patient, and the minor’s parents.

When that is so, each actor has an important role to play: the provider offers medical

instruction, the parents provide stewardship and consent, and the minor—assisted

by that medical instruction and parental stewardship—provides assent. See Am.

Med. Ass’n (“AMA”), Code of Medical Ethics Opinion 2.2.1, Pediatric Decision

Making,         https://www.ama-assn.org/delivering-care/ethics/pediatric-decision-

making (discussing the importance of “[r]espect and shared decision making”

between parents and minors “in the context of decisions for minors”); Beth A. Clark,

Ethics in Child & Youth Care Practice with Transgender Youth, 8 Int’l J. of Child,

Youth & Fam. Studies 74 (2017), http://dx.doi.org/10.18357/ijcyfs82201716754

(discussing relational ethics).




                                          23
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 41 of 54



      The process of informed consent (which, for minors, also frequently includes

their parents) involves five core elements: 1) patient competence, 2) disclosure, 3)

comprehension, 4) voluntariness, and 5) consent. Beauchamp & Childress at 122.

As to the first element, parents generally have competence to participate in the

informed consent process on behalf of their minor children, and many adolescent

patients also have the competence to participate in the informed consent process,

including in the context of gender-affirming care. See Jessica Kremen et al.,

Addressing Legislation That Restrict Access to Care for Transgender Youth, 147

Pediatric Perspectives (2021), https://pubmed.ncbi.nlm.nih.gov/33883246/ (minor

patients who are transgender “possess decisional capacity, and with guardian

consent and the support of a multidisciplinary team, [] are able to contribute to

decisions in their own best interests about [Gonadotropin Releasing Hormones] and

gender-affirming hormones”); Beth A. Clark & Alice Virani, This Wasn’t a Split-

Second Decision: An Empirical Ethical Analysis of Transgender Youth Capacity,

Rights, and Authority to Consent to Hormone Therapy, 18 J. Bioethical Inquiry 151–

164 (2021), https://pubmed.ncbi.nlm.nih.gov/33502682/ (concluding, based on

qualitative empirical analysis, that “trans[gender] youth demonstrated the

understandings and abilities characteristic of the capacity to consent to hormone

therapy and that they did consent to hormone therapy with positive outcomes”);

Richard E. Redding, Children’s Competence to Provide Informed Consent for



                                        24
USCA11 Case: 23-12155           Document: 64    Date Filed: 11/29/2023   Page: 42 of 54



Mental Health Treatment, 50 Wash. & Lee L. Rev. 695, 707 (1993),

https://scholarlycommons.law.wlu.edu/cgi/viewcontent.cgi?article=1759&context=

wlulr (“Research . . . indicates that children often are capable of making important

life decisions in a rational manner, including decisions about medical and

psychological treatment.”).

      Once competence has been established, the elements of disclosure and

comprehension require the provider to accurately and sensitively present relevant

information about any diagnosis; the nature and purpose of recommended

interventions; the burdens, risks, and expected benefits of all options, including

forgoing treatment; and any limitations to the medical community’s knowledge

regarding burdens, risks, and expected benefits. AMA, Code of Medical Ethics

Opinion    2.1.1,        Informed   Consent,     https://www.ama-assn.org/delivering-

care/ethics/informed-consent; Aníbal Torres Bernal & Deborah Coolhart, Treatment

and Ethical Considerations with Transgender Children and Youth in Family

Therapy,    23      J.     of    Fam.   Psychotherapy       296,    287–303     (2012),

http://dx.doi.org/10.1080/08975353.2012.735594.

      For the fourth element, voluntariness, the provider must then assess the

patient’s (and, if not a mature minor, the parents’) ability to understand relevant

medical information and the implications of treatment alternatives and to make an

independent, voluntary decision. AMA Informed Consent. Fifth, and finally, the



                                           25
USCA11 Case: 23-12155       Document: 64       Date Filed: 11/29/2023   Page: 43 of 54



patient—and, where the patient is a minor, usually the parents as well—decides how

to proceed.

      From the perspective of biomedical ethics, a decision that is made by a patient

(and, when a minor, jointly with a parent/guardian) through a process of informed

consent and that aligns with a provider’s recommendation should be fully respected.

Indeed, medical professionals and patients are regularly entrusted to together decide

the best course of treatment, including when the treatment has significant risks or

permanent effects. Pediatric chemotherapy or radiation, for example, are subject to

principles of informed consent, despite the potential lasting effects on growth

development and reproductive capabilities. See, e.g., Am. Cancer Soc’y, Late

Effects       of   Childhood     Cancer        Treatment      (Sept.    18,     2017),

https://www.cancer.org/treatment/children-and-cancer/when-your-child-has-

cancer/late-effects-of-cancer-treatment.html. Pediatric breast reduction performed

to address excess breast tissue, back pain, or social anxiety; pediatric rhinoplasty;

and orthopedic surgery on minors following sports injuries likewise can have

enduring impacts. There is nothing unique about gender-affirming care that justifies

denying coverage even though the provider, and the patient (and the patient’s

parents, when a minor) all agree about the best course of action.

      By prohibiting health care providers from offering medically necessary and

appropriate treatment to economically disadvantaged patients with gender dysphoria



                                          26
USCA11 Case: 23-12155        Document: 64       Date Filed: 11/29/2023   Page: 44 of 54



and denying patients the ability to access such care when they have given informed

consent, the Challenged Exclusion disrespects autonomy and undermines the

provider-patient relationship.

      B.     The Challenged Exclusion Forces Providers to Violate Their Duty
             of Beneficence.

      The duty to act in the best interest of the patient is called beneficence, and is

best understood as “a group of norms pertaining to relieving, lessening, or preventing

harm and providing benefits and balancing benefits against risks and costs.”

Beauchamp & Childress at 13; see also id. at 217 (“[M]orality requires that we treat

persons autonomously and refrain from harming them, but morality also requires

that we contribute to their welfare.”). 4 Medical professionals in the United States

and around the world take oaths and are held to duties that encompass beneficence.

The World Medical Association’s “Modern Hippocratic Oath” requires physicians

to attest upon admission to the medical profession that the “health of [their] patient[s]

will be [their] first consideration.” World Medical Association, Declaration of

Geneva (1948). Likewise, the United Kingdom’s General Medical Council requires




4
 A related principle, nonmaleficence, concerns avoiding the causation of harm.
Nonmaleficence thus prohibits action while beneficence requires it. The Challenged
Exclusion contravenes both principles.

                                           27
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 45 of 54



physicians to “make the care of your patient your first concern.” Good medical

practice: Duties of a doctor registered with the General Medical Council, Gen. Med.

Council 70–78 (2001), https://www.gmc-uk.org/ethical-guidance/ethical-guidance-

for-doctors/good-medical-practice/duties-of-a-doctor. And the AMA recognizes

that “[t]he practice of medicine, and its embodiment in the clinical encounter

between a patient and a physician, is fundamentally a moral activity that arises from

the imperative to care for patients and to alleviate suffering.” AMA, Code of

Medical Ethics Opinion 1.1.1, Patient-Physician Relationships, https://www.ama-

assn.org/system/files/code-of-medical-ethics-chapter-1.pdf.

      Medicaid embodies the principal of beneficence by ensuring the welfare of

economically disadvantaged individuals. The program provides individuals with

increased access to and better quality of health care. The government thus prevents

harm by providing patients with safe and beneficial health care. Conversely, the

denial of such care results in serious harm to individuals and negatively impacts the

health, safety, and well-being of a community.

      Applying the principle of beneficence to the treatment of Medicaid

beneficiaries with gender dysphoria is straightforward. When untreated, gender

dysphoria has serious mental and physical consequences, including anxiety,

depression, self-harm, and suicidality. See, e.g., Norman P. Spack et al., Children

and adolescents with gender identity disorder referred to a pediatric medical center,



                                         28
USCA11 Case: 23-12155        Document: 64      Date Filed: 11/29/2023   Page: 46 of 54



129 Pediatrics (2012), https://pubmed.ncbi.nlm.nih.gov/22351896; Kristina R.

Olson et al., Mental health of transgender children who are supported in their

identities, Pediatric Collections: LGBTQ+: Support and Care (Part 3: Caring for

Transgender                              Children)                              (2016)

https://publications.aap.org/pediatrics/articleabstract/137/3/e20153223/81409/Ment

al-Health-of-Transgender-Children-Who-Are; Doc. 246 at 21 (crediting testimony

that denying gender-affirming care “will cause needless suffering for a substantial

number of patients and will increase anxiety, depression, and the risk of suicide”);

Doc. 246 at 40. By contrast, evidence from both research and clinical experience

makes clear that gender-affirming care improves patients’ health and alleviates their

suffering. See, e.g., Brandt, 47 F.4th at 671; Brandt v. Rutledge, 551 F. Supp. 3d

882, 891 (E.D. Ark. 2021); Kraschel at 4.          In order to practice beneficence,

practitioners must act for the benefit of the patient and promote their welfare. This

is not possible when the State denies Medicaid coverage to transgender beneficiaries.

The Challenged Exclusion prohibits providers from administering care that would

relieve their patient’s suffering. Withholding care for gender dysphoria thus can

result in serious harm to patients, contrary to the core principle of beneficence.

      In sum, the principle of beneficence obligates providers to remove conditions

that will cause harm to others. Beauchamp & Childress at 219. By mandating that

providers deny care to their economically disadvantaged patients with gender



                                          29
USCA11 Case: 23-12155        Document: 64      Date Filed: 11/29/2023   Page: 47 of 54



dysphoria when the patient seeks that care and the provider deems it medically

indicated, the Challenged Exclusion forces providers to cause harm to their patients

and, thus, to violate their core duty of beneficence.

      C.     The Challenged Exclusion Forces Providers to Violate Their Duty
             of Justice.

      A third core principle of bioethics—justice—requires providers to

acknowledge inequalities in the delivery of medical care and to work toward fair,

equitable, and appropriate treatment for all. Beauchamp & Childress at 267–68;

Clark, Ethics in Child & Youth Care Practice with Transgender Youth at 79. The

Challenged Exclusion undermines this ethical duty of providers by barring

transgender Medicaid beneficiaries from receiving gender-affirming care.

Specifically, the Exclusion denies care to a certain class of economically

disadvantaged patients based on their transgender identity: coverage for care is

banned only if it is for treatment of gender dysphoria, which is care that only

transgender individuals seek.     Moreover, by limiting access to care for only

Medicaid beneficiaries, the Exclusion requires providers to differentiate between

their economically disadvantaged transgender patients and all other patients seeking

the same care. The Exclusion thus imposes medical strain and financial costs on only

those patients who rely on Medicaid.

      For example, the Exclusion, if allowed to go into effect, may force Medicaid

beneficiaries who are transgender to consider moving out of state or to endure the


                                          30
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 48 of 54



negative health effects from stopping hormone therapy and to fear for their ability

to survive without treatment. See Doc. 1, Compl. ¶¶ 213, 248. These potential costs

are on top of the many socioeconomic and geographic barriers to gender-affirming

care that transgender youth often already face. See Phillip E. Wagner et al., 39.1

Health (Trans)gressions: Identity and Stigma Management in Trans* Healthcare

Support Seeking 51 (Oct. 2016) (noting “[t]he difficult decisions trans* individuals

make in regard to their healthcare have been well documented” and include

“[f]inancial barriers, insurance issues, and access to services”). The Exclusion

exacerbates and reinforces these already significant challenges by preventing

transgender Medicaid beneficiaries from accessing the gender-affirming healthcare

they require.

      Also, being denied coverage for gender-affirming care may lead transgender

people to avoid seeking medical care altogether, or to choose between their health

care, their food, their safety, or their housing. Compl. ¶¶ 145, 148, 150, 152, 243-

244; see also Kraschel at 5 (noting potential of legislative restrictions on gender-

affirming care to disproportionally affect marginalized communities). Avoiding or

delaying care leads “to poorer physical and mental health outcomes.” Luisa Kcomt

et al., Healthcare avoidance due to anticipated discrimination among transgender,

11(100608)        SSM         -      Population        Health         1      (2020),

https://www.sciencedirect.com/science/article/pii/S2352827320302457.



                                        31
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 49 of 54



      Medical practitioners must not cause patients to fear seeking care, nor deny

them care that, by definition, only people who are transgender need. The Challenged

Exclusion forces health care providers to violate the core biomedical ethics principle

of justice by mandating discrimination against a vulnerable, economically

disadvantaged, and stigmatized population. By prohibiting transgender Medicaid

beneficiaries from accessing treatment for gender dysphoria simply because they are

transgender and economically disadvantaged, the Challenged Exclusion deprives

them of their autonomy and signals that they are not worthy of beneficence. Without

autonomy and beneficence, only injustice can occur.

                                        ***

      The Challenged Exclusion is unsupported by biomedical ethics or any of its

core principles. To the contrary, the Exclusion commands their violation, for no

legitimate purpose, resulting in physical and emotional suffering.

                                  CONCLUSION

      Unwarranted restrictions on the provision of health care by the State are

unethical and detrimental to public health. The Challenged Exclusion contravenes

multiple, fundamental principles of biomedical ethics and requires providers to harm

their transgender patients who are Medicaid beneficiaries. Were the State permitted

to enforce the Challenged Exclusion, it would open the door to unprecedented State




                                         32
USCA11 Case: 23-12155       Document: 64      Date Filed: 11/29/2023   Page: 50 of 54



intrusion into medicine and patient rights. This Court should reject such a result and

affirm the District Court’s Findings of Fact and Conclusion of Law.

Dated November 29, 2023                       Respectfully Submitted,

                                              /s/ Kathleen Hartnett
Katelyn Kang                                   Kathleen Hartnett
COOLEY LLP                                     Zoë Helstrom
55 Hudson Yards                                COOLEY LLP
New York, NY 10001-2103                        3 Embarcadero Center, 20th Floor
Telephone: (212) 479-6000                      San Francisco, California 94111-4004
kkang@cooley.com                               Telephone: (415) 693-2000
                                               khartnett@cooley.com
                                               zhelstrom@cooley.com

                                               Counsel for Amici Curiae




                                         33
USCA11 Case: 23-12155       Document: 64     Date Filed: 11/29/2023   Page: 51 of 54



                         CERTIFICATE OF SERVICE

      I certify that on November 29, 2023, this document was electronically filed

with the clerk of the court for the U.S. Court of Appeals for the Eleventh Circuit and

served through CM/ECF upon all counsel of record in this case.

Dated: November 29, 2023                            /s/ Kathleen Hartnett
                                                    Kathleen Hartnett
USCA11 Case: 23-12155      Document: 64    Date Filed: 11/29/2023   Page: 52 of 54



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      This document complies with the type-volume limitations set forth in Fed. R.

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                                                   /s/ Kathleen Hartnett
                                                   Kathleen Hartnett
USCA11 Case: 23-12155       Document: 64    Date Filed: 11/29/2023   Page: 53 of 54



                                   APPENDIX

                                List of Amici Curiae

      Amici include the following individuals, whose affiliations are provided for

identification purposes only:

Aziza Ahmed
Professor of Law
Boston University School of Law

Khiara M. Bridges
Professor of Law
University of California, Berkeley School of Law

David S. Cohen
Professor of Law
Drexel University, Thomas R. Kline School of Law

I. Glenn Cohen
Deputy Dean, James A. Attwood and Leslie Williams Professor of Law, and
Faculty Director, Petrie-Flom Center for Health Law Policy, Biotechnology &
Bioethics
Harvard Law School

Charlene Galarneau
Senior Lecturer, Department of Global Health and Social Medicine
Faculty Member, Center for Bioethics
Harvard Medical School

Associate Professor Emerita
Women's and Gender Studies Department
Wellesley College

Affiliate Researcher, Center for Antiracist Research
Boston University
USCA11 Case: 23-12155      Document: 64   Date Filed: 11/29/2023   Page: 54 of 54



Joanna Grossman
Ellen K. Solender Endowed Chair in Women and the Law and Professor of Law
SMU Dedman School of Law

Lisa C. Ikemoto
Martin Luther King Jr. Professor of Law
University of California, Davis School of Law

Maya Manian
Professor of Law
American University Washington College of Law

Michelle Oberman
Katharine and George Alexander Professor of Law
Santa Clara University School of Law

Dara Purvis
Professor of Law
Penn State Law

Rachel Rebouché
Dean and Peter J. Liacouras Professor of Law
Temple University Beasley School of Law

Jessica Silbey
Professor of Law
Boston University School of Law

Michael R. Ulrich
Assistant Professor
Boston University School of Public Health and School of Law
